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1    LAW OFFICES OF JOHNNY L. GRIFFIN III
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5    Attorney for Defendant
     Gurminder Singh
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7

8                            IN THE UNITED STATES DISTRICT COURT
9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                       )   Case No.: 2:06-cr-0238-MCE
                                                     )
12                  Plaintiff,                       )   STIPULATION AND ORDER TO
                                                     )   CONTINUE STATUS CONFERENCE
13          vs.                                      )
                                                     )   DATE: December 5, 2006
14   JASWANT KAUR, SUCHA SINGH,                      )   TIME: 8:30 a.m.
     ARJINDER SINGH and GURMINDER                    )
15                                                   )
     SINGH,                                              Hon. Morrison C. England, Jr.
                                                     )
16                                                   )
                    Defendants.
17

18
            Defendants, by and through their undersigned counsel, and the United States of
19
     America, through Assistant U.S. Attorney Mary L. Grad, hereby stipulate and request that
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     the Court continue the status conference in the above captioned case from December 5, 2006
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     to January 23, 2007 at 8:30 a.m. This continuance is requested because defendant’s counsel
22
     needs additional time to review discovery, obtain necessary records, and conduct
23

24   investigation. In addition, upon completion of the defense investigation, the parties intend

25   to engage in settlement negotiations.
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1               For these reasons, the parties stipulate and request that the Court exclude time within
2
     which the trial must commence under the Speedy Trial Act from December 5, 2006 through
3
     January 23, 2007, for the defense preparation under 18 U.S. C. § 3161(h)(8)(B)(iv) (Local
4
     Code T4).
5
                Dated: November 30, 2006                      Respectfully submitted,
6
                                                              /s/ Mary L. Grad1
7                                                             MARY L. GRAD
                                                              Assistant U.S. Attorney
8

9
                Dated: November 30, 2006                    /s/ Johnny L. Griffin, III
10                                                          JOHNNY L. GRIFFIN, III
                                                            Attorney for Defendant
11                                                          Gurminder Singh
12
                Dated: November 30, 2006                      /s/ Mark J. Reichel2__
13                                                            MARK J. REICHEL
                                                              Attorney for Defendant
14                                                            Jaswant Kaur

15              Dated: November 30, 2006                     /s/ John P. Brennan___
                                                            JOHN P. BRENNAN
16                                                          Attorney for Defendant
                                                            Sucha Singh
17
                Dated: November 30, 2006                    /s/ Jay Griener_____
18
                                                           JAY GRIENER
19
                                                           Attorney for Defendant
                                                           Arjinder Singh
20
     IT IS SO ORDERED.
21   Dated: December 13, 2006

22                                                       __________________________________
                                                         MORRISON C. ENGLAND, JR
23                                                       UNITED STATES DISTRICT JUDGE

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     1
         Mary Grad telephonically authorized attorney Johnny L. Griffin, III to sign this Stipulation on her behalf.
25
     2
      Mr. Reichel and Mr. Brennan and Mr. Griener telephonically authorized attorney Johnny L. Griffin, III to sign this
     proposed order on their behalf.
